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JAMES MURPHY, ON BEHALF OF HIMSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                 No. 1:24-cv-05342




PRIMARY KIDS, INC.,




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